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 Attorney for Defendant


                                 United States District Court
                                      District of Alaska


 United States of America,
                                                      Case No. 3:19-cr-0111-JMK-MMS

              Plaintiff,

         v.                                           Motion In Limine to Prevent
                                                      The Government From Using
                                                      The Term ‘Victim’
 Jessica Spayd,

              Defendant.


      Jessica Spayd, accused, hereby moves this court to prohibit the government from

using the term ‘victim’ in this trial to refer to the deceased persons listed in Counts 1 – 5 of

the indictment.




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         ‘Victim’ is defined by Merriam Webster as “one that is acted on and usually adversely

affected by a force or agent.”1

         In this case, the government alleges that Ms. Spayd’s prescriptions exceeded an

objective standard when she prescribed some medications to various patients. The

government further alleges that some of her patients died from overdoses of these

prescriptions. Ms. Spayd disputes those allegations for several reasons. Among the reasons

is that the evidence of causation between Ms. Spayd’s prescriptions and the deaths is

disputed.

         Because of this dispute, it is not clear at present whether a crime even occurred. If

Ms. Spayd did not know or intend that her prescriptions were “unauthorized,” the recent

standard enunciated in Ruan, then she is not guilty of a crime irrespective of another

physician’s opinion about her practice. Since the very existence of a crime is disputed, it is

inappropriate for the government to refer to anybody as a victim since the term presumes

that the person was indeed harmed by Ms. Spayd’s conduct.

         DATED this 14th day of September, 2022, at Anchorage, Alaska.


                                                  Steven M. Wells, PC
                                                  Attorneys for Defendant



                                          By:     _/s/ Steven M. Wells _____________
                                                  Steven M. Wells
                                                  ABA #0010066

1
    See https://www.merriam-webster.com/dictionary/victim (last visited September 14, 2022).
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CERTIFICATE OF SERVICE

The undersigned hereby certifies
that a true and correct copy of the
foregoing was served electronically
this 14 th day of September, 2022, on:

All Parties of Record


_/s/ Steven M. Wells _____.
Steven M. Wells, PC




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